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                                             UNITED STATES DISTRICT COURT
                                             SOUTHERN DISTRICT OF FLORIDA
                                               FT. LAUDERDALE DIVISION

                                                  Case No. ____________________


    AMPARO MACIAS, ISAURA CURBELO,
    JORGE L. CALVET, and DORA C. REYES,

               Plaintiffs,

    v.

    PEYTON BOLIN, PL,

               Defendant.

    __________________________________/

                                         DEFENDANT’S NOTICE OF REMOVAL

             Defendant, PEYTON BOLIN, PL by and through its undersigned counsel, and pursuant to

  28 U.S.C. §§ 1331, 1441, 1446 and Local Rule 3.1, hereby removes this action, which is styled

  Amparo Macias; Isaura Curbelo; Jorge L. Calvet; and Dora C. Reyes v. Peyton Bolin, PL, and

  designated Case No.: Case No.: COSO19-000026 Division: 62, from the County Court of the

  Seventeenth Judicial Circuit in and for Broward County, Florida, in which the action is now

  pending, to the United States District Court for the District of Florida, Ft. Lauderdale Division.

  In support of this removal, Defendant states:

         1. A defendant who wants to remove a case from state court to federal court must file a notice

             of removal containing a short and plain statement of the grounds for removal. 28 U.S.C.S.

             § 1446(a). Boone v. JP Morgan Chase Bank, 447 F. App'x 961, 962 (11th Cir. 2011)

         2. This case is properly removable due to the existence of Federal question jurisdiction

             triggered by claims brought by the Plaintiffs pursuant to 15 U.S.C. § 1692.
                                                       COLE, SCOTT & KISSANE, P.A.
COLE, SCOTT & KISSANE BUILDING - 9150 SOUTH DADELAND BOULEVARD - SUITE 1400 - P.O. BOX 569015 - MIAMI, FLORIDA 33256 - (305) 350-5300 - (305) 373-2294 FAX
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        3. Venue is properly in the Ft. Lauderdale Division of the Southern District of Florida. This

             case was filed in the County Court of the Seventeenth Judicial Circuit in and for Broward

             County, Florida, on December 26, 2018. Therefore, pursuant to Local Rule 3.1, the

             Southern District’s Ft. Lauderdale Division is the proper Court for removal of this case.

        4. This Notice of Removal is being timely filed within thirty (30) days from February 22,

             2019, the date upon which the Summons was served upon Defendant’s Florida Registered

             Agent. A copy of the Summons, Complaint and County Court Docket are attached

             collectively hereto as Exhibit “A.” Defendant has filed no responsive pleadings in the State

             Court action.

        5. Defendant provided written notice to Plaintiffs’ counsel and will promptly file with the

             Clerk of the County Court for the Seventeenth Judicial Circuit, in and for Broward County,

             Florida, a Notice to State Court Clerk of Removal of Case to Federal Court pursuant to 28

             U.S.C. § 1446(d).

        6. It is well established that, “District courts have federal question jurisdiction over all civil

             actions arising under the Constitution, laws, or treaties of the United States. 28 U.S.C.S. §

             1331; Boone v. JP Morgan Chase Bank, 447 F. App'x 961, 962 (11th Cir. 2011). A claim

             arises under federal law when the face of the plaintiff's complaint presents

             a federal question. Id.

        7. The District Courts of the United States has original jurisdiction of this civil action as

             provided in 28 U.S.C. § 1331. Under that section, this Court has jurisdiction based upon

             Federal Question, as the instant lawsuit was filed pursuant to alleged violations of the Fair

             Debt Collection Practices Act (“FDCPA”), 15 U.S.C. § 1692, et. seq. See. Compl. at ¶ 1.


                                                                           2
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             Moreover, there are no causes of actions pled within the Complaint separate or apart from

             any claims being made pursuant to Federal law.

        8. The undersigned counsel represents and is authorized to represent that the Defendant

             consents to the removal of this action.

        9. Accompanying this Notice of Removal is a Civil Cover Sheet as well as the required filing

             fee.

             WHEREFORE, for the above-stated reasons, Defendant respectfully request that this

  Honorable Court assume federal jurisdiction of this cause and approve this Notice of Removal.

             Respectfully submitted, this 7th day of March, 2019.

                                                   CERTIFICATE OF SERVICE

             I HEREBY CERTIFY that on this 7th day of March, 2019, a true and correct copy of the

  foregoing has been furnished by electronic filing with the Clerk of the court via CM/ECF, which

  will send notice of electronic filing to all counsel of record.


                                                                   COLE, SCOTT & KISSANE, P.A.
                                                                   Counsel for Defendant PEYTON BOLIN, PL
                                                                   Cole, Scott & Kissane Building
                                                                   9150 South Dadeland Boulevard, Suite 1400
                                                                   P.O. Box 569015
                                                                   Miami, Florida 33256
                                                                   Telephone (786) 268-6415
                                                                   Facsimile (305) 373-2294
                                                                   Primary e-mail: cody.german@csklegal.com
                                                                   Secondary e-mail: andrew.simon@csklegal.com

                                                          By: s/ Andrew G. Simon
                                                              JOHN CODY GERMAN
                                                              Florida Bar No.: 58654
                                                              ANDREW G. SIMON
                                                              Florida Bar No.: 1002623
  0451.0349-00/13263683



                                                                           3
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                                     A
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 Case Detail - Public                                                                   Print


   Amparo Macias, et al Plaintiff vs. Peyton Bolin PL Defendant


       Broward County Case Number: COSO19000026
       State Reporting Number: 062019CC000026AXXXSO
       Court Type: Civil
       Case Type: * CC Damages >$5,000 - $15,000
       Incident Date: N/A
       Filing Date: 12/26/2018
       Court Location: South Courthouse
       Case Status: Pending
       Magistrate Id / Name: N/A
       Judge ID / Name: 62 Miller, Terri-Ann




     −    Party(ies)                                                                   Total: 5


                                                             ? Attorneys / Address
         Party Type        Party Name          ?   Address     Denotes Lead Attorney




                                                                                                  ∠



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                                                                             ? Attorneys / Address
         Party Type     Party Name                   ?      Address            Denotes Lead Attorney


         Plaintiff      Macias, Amparo                                                 Ross, Michael T
                                                                                         Retained
                                                                                       Bar ID: 91623
                                                                                       2531 LEE ST
                                                                                 Hollywood, FL 33020-2054
                                                                                      Status: Active



         Plaintiff      Curbelo, Isaura                                                Ross, Michael T
                                                                                         Retained
                                                                                       Bar ID: 91623
                                                                                       2531 LEE ST
                                                                                 Hollywood, FL 33020-2054
                                                                                      Status: Active



         Plaintiff      Calvet, Jorge L                                                Ross, Michael T
                                                                                         Retained
                                                                                       Bar ID: 91623
                                                                                       2531 LEE ST
                                                                                 Hollywood, FL 33020-2054
                                                                                      Status: Active



         Plaintiff      Reyes, Dora C                                                  Ross, Michael T
                                                                                         Retained
                                                                                       Bar ID: 91623
                                                                                       2531 LEE ST
                                                                                 Hollywood, FL 33020-2054
                                                                                      Status: Active



         Defendant      Peyton Bolin PL




     −     Disposition(s)                                                                              Total: 0


         Date                      Statistical Closure(s)


         Date               Disposition(s)                            View               Page(s)
                                                                                                                  ∠



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     −    Event(s) & Document(s)                                                  Total: 7



         Date         Description                    Additional Text       View   Pages


         02/26/2019   Summons Returned Served        02/22/19
                                                                                 3
                                                     Party: Defendant
                                                     Peyton Bolin PL


         02/21/2019   Summons Issued Fee             Payor: FERRER
                                                     LAW GROUP
                                                     I.O.T.A. ; Userid:
                                                     CTS-fg/t ; Receipt:
                                                     20191FA1A028212;
                                                     ;

                                                     Amount: $10.00


         02/20/2019   Notice of Appearance           CO-COUNSEL
                                                                                 2
                                                     AND
                                                     DESIGNATION OF
                                                     ELECTRONIC
                                                     MAIL ADDRESSES
                                                     Party: Plaintiff
                                                     Macias, Amparo
                                                     Plaintiff Curbelo,
                                                     Isaura Plaintiff
                                                     Calvet, Jorge L
                                                     Plaintiff Reyes,
                                                     Dora C


         02/20/2019   eSummons Issuance
                                                                                 3


         01/02/2019   Filing Fee Paid                Payor: MICHAEL T
                                                     ROSS ; Userid:
                                                     CTS-fg/t ; Receipt:
                                                     20191FA1A000444;
                                                     ;

                                                     Amount: $300.00


         12/26/2018   Complaint (eFiled)
                                                                                 16


         12/26/2018   Civil Cover Sheet
                                                                                 2



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      −   Hearing(s)                                                            Total: 0


      There is no Disposition information available for this case.




      −   Related Case(s)                                                       Total: 0


      There is no related case information available for this case.




 Brenda D. Forman

 Clerk of Court
 Broward County
 17th Judicial Circuit

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 201 SE 6th Street
 Fort Lauderdale
 Florida, US 33301
 Phone: (954) 831-6565




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                                                          F.S.

                                     PUBLIC ACCESS TO JUDICIAL RECORDS
      (/GENERALINFORMATION/MISCELLANEOUS#JUDICIALRECORDRULE) ∠ PURSANT TO RULE 2.420

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